Case 3:17-cv-06365-|\/|AS-LHG Document 113 Filed 08/08/18 Page 1 of 4 Page|D: 1950

UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF NEW JERSEY

 

LORD ABBETT INVESTMENT TRUST -
LORD ABBETT SHORT DURATION
INCOME FUND, et al.,

Plaimiff& Civn Ac,u<m No. 17-cv-6365 (MAS) (LHG)
V.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Defendants.

 

 

STIPULATION AND ORDER

WHEREAS, Plaintiffs in the above-captioned action (the "Action") have filed an
Amended Cornplaint (the "Complaint”) against Valeant Pharmaceuticals International, Inc., J.
Michael Pearson, I-loward B. Schiller, Robert L. Rosiello, Tanya Carro, and
PricewaterhouseCoopers LLP (collectively, “Defendants," and together with Plaintiffs, the
"Parties");

WHEREAS, this Action is one of twenty-eight opt-out actions pending in the District of
New Jersey related to the class action in 1a re Valeant Pharmaceuticafs latemntionaf, [nc.
Secnrities Lz'tz`gatz'on, Case No. lS-cv-7658 (the “Class Action”);

WHEREAS, on August 18, 2017 all Defendants filed Amended Answers in the Class
Action, see No. l$-cv-7658 (ECF Nos. 248-50, 253-54) (collectively, the "Class Action
Answers”);

WHEREAS, there is substantial factual overlap between the allegations in this Action
and the Class Action;

WHEREAS, in view of the substantial factual overlap with the Class Action, the Parties

have agreed that it would be inefficient for Defendants to admit or deny every allegation in the

Case 3:17-cv-06365-|\/|AS-LHG Document 113 Filed 08/08/18 Page 2 of 4 Page|D: 1951

Complaint pursuant to Fed. R. Civ. P. S(b) at this time;

IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of
the Parties, that:

(a) Defendants, to the extent all claims against a defendant have not been dismissed,
will file answers to the Complaint (the "Opt-Out Answers”) incorporating by reference the Class
Action Answers Within 45 days of the Court’s ruling on the motions to dismiss;

(b) The Opt-Out Answers will (1) respond to allegations in paragraphs 94, 97-99,
106-07, 114-16, 145-54, 194-95, and 212-26, and Sections III.A, IV, V.C.7, VI, VIII, IX, and XI
of the Complaint, as well as those portions of Section XII of the Complaint concerning causes of
action not raised in the Class Action; and (2) will identify any applicable affirmative defenses
not raised in the Class Action Answers;

(e) No allegations in the Complaint shall be deemed admitted pursuant to Fed. R. Civ.
P. 8(b)(6) unless admitted in the Opt-Out Answer or the Class Action Answers;

(d) Plaintiffs may subsequently request responses to specific paragraphs of the
Complaint containing factual allegations that they reasonably believe are not addressed by the
Opt-Out Answers and their incorporation of the Class Action Answers, and Defendants shall be
provided 45 days to file amended Opt-Out-Answers or seek relief from the Court.

Stipulated and agreed to by:

DATED: Augusi 3, 2013

WHIPPLE AZZARELLO, LLC McCARTER & ENGLISH LLP
/s/ J olin A. Azzarello /s/ Richard l-lernandez

John A. Azzarello Richard Hernandez

161 l\/[adison Avenue, Suite 325 100 Mulberry Street

Morristcwn, NJ 07960 Newark, NJ 117']02

Telephone: (973) 267-7300 Telephone: (973) 848-8615

Fax: (973) 267-0031 Fax: (973) 207-6615

l\)

CaSe 3217-CV-06365-|\/|AS-LHG

Local Counselfor Plaintiffs'
LABATON SUCHAROW LLP

Serena P. Hallowell
Jonathan Gardner

Eric J. Belfi

Thornas W. Watson

140 Broadway

New Yorl<, NY 10005
Telephone: (212) 907-0700
Fax: (212) 818-0477

Coimse_zl'for P[ainn_`j@

Document 113 Filed 08/08/18 Page 3 of 4 Page|D: 1952

Locczl Cozmselfor Vafeant Pharmaceuticals
latemationm', Inc., Robert L. Rosiello,
and Tanya Cm'ro

SIMPSON THACHER & BARTLETT
LLP

Paul C. Curnin

Craig S. Waldrnan

Daniel J. Stujenske

Dean McGee

425 Lexington Avenue

New York, NY 10017

Telephone: (212) 455-2000

Fax: (212) 455-2502

Couns€lfor Valeanf Pharmac€uticals
lnfernatz`onai, Inc. amf Robert L. Rosi'ello

COOLEY LLP

Williarn J. Schwartz

Laura G. Birger

1114 Avenuc of the Americas
New York, I\JY 10036
Telephone: (212) 479-6000
Fax.' (212) 479-6275

Connselfo)' Tanya Carro

DEBEVOISE & PLIMPTON LLP

/s/ Holly S. Wintermute
Holly S. Winterrnute

919 Third Avenue

New York, i\'Y 10022
Telephone: (212) 909-6000
Fax: (212) 909-6836

Jonathan R. '[`uttle

Ada. F. Johnson

801 Pennsyl\'ania Avenue, NW
Washington, D.C. 20004
Telephone: {202) 383-8000
Fax: (202) 383-8118

C ounsel 1 for .f. Mz'chnel Pear.s'on

Case 3:17-cv-06365-|\/|AS-LHG Document 113 Filed 08/08/18 Page 4 of 4 Page|D: 1953

WINSTON & STRAWN LLP

/s/ J ames S. Richter

J ames S. Richter

Melissa Steedle Bogad

200 Parl< Avenue

New York, 1\'Y 10166-4193
Telephone: (212) 294-6700
Fax: (212) 294-4700

Counselfor Howctrd B. Schilfer

 

